Case 2:24-cv-02461-SPG-AJR Document 14 Filed 05/01/24 Page 1 of 2 Page ID #:62



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      Attorneys for Plaintiff
  8   Amarte USA Holdings, Inc.
  9                             UNITED STATES DISTRICT COURT
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11   AMARTE USA HOLDINGS, INC., a                CASE NO: 2:24-cv-02461-SPG-AJR
      Delaware Corporation,
 12                                               STIPULATION TO EXTEND
                   Plaintiff,                     TIME TO RESPOND TO INITIAL
 13                                               COMPLAINT BY NOT MORE
                          v.                      THAN 30 DAYS (L.R. 8- 3)
 14
      CALDERA + LAB, INC., a Delaware             Complaint Served: April 12, 2024
 15   Corporation,                                Current Response Date: May 03, 2024
                                                  New Response Date: June 02, 2024
 16                Defendant.                     (tolls to June 03, 2024)
 17         Plaintiff AMARTE USA HOLDINGS, INC., and Defendant CALDERA +
 18   LAB, INC., by and through the undersigned counsel of record, pursuant to Local
 19   Civil Rule 8-3, hereby stipulate to a thirty-day extension of time for Defendant to
 20   respond to Plaintiff’s Complaint. Thirty days from the current May 3, 2024, response
 21   date is Sunday, June 2, 2024, which effectively tolls Defendant’s new deadline to
 22   respond to Plaintiff’s Complaint to Monday, June 3, 2024. Fed. R. Civ. P. 6(a)(1)(C).
 23         IT IS SO STIPULATED AND AGREED.
 24
 25                                 [signature page to follow]
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        STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY
                        NOT MORE THAN 30 DAYS (L.R. 8- 3)
Case 2:24-cv-02461-SPG-AJR Document 14 Filed 05/01/24 Page 2 of 2 Page ID #:63



  1   Dated:       May 1, 2024                 /s/ Benjamin S. White
                                               Benjamin S. White
  2                                            IPLA, LLP
  3                                            Attorney for Plaintiff,
                                               AMARTE USA HOLDINGS, INC.
  4
  5   Dated:       May 1, 2024                 /s/ Ryan Kaiser
                                               Ryan Kaiser
  6                                            AMIN WASSERMAN GURNANI, LLP
                                               Attorney for Defendant,
  7                                            CALDERA + LAB, INC.
  8
            Pursuant to Local Rule 5-4.3.4, Benjamin S. White of the law firm IPLA, LLP,
  9
      counsel for the filing party, attests that all signatories listed, and on whose behalf this
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      filing is submitted, concur in the filing’s content and have authorized the filing.
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        STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY
                        NOT MORE THAN 30 DAYS (L.R. 8- 3)
